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    11
                                UNITED STATES DISTRICT COURT
    12                         CENTRAL DISTRICT OF CALIFORNIA
    13   CAP EXPORT, LLC, a California            Case No. 2:16-cv-00371 SVW (MRWx)
         Limited Liability Company,
    14
                              Plaintiff,
    15                v.                          xxxxxxxxxxxx
                                                  rPROPOSED) STIPULATED FINAL
                                                  JUDGMENT AND PERMANENT
    16   ZINUS, INC., a California corporation;   INJUNCTION
         and DOES 1 through 10, inclusive,
    17                      Defendants.
    18   ZINUS, INC., a California corporation,
    19                     Counterclaimant,
                      v.
    20
         CAP EXPORT, LLC, a California
    21   Limited Liability Company,
    22                 Counterdefendant.
    23
         ZINUS, INC., a California corporation,
    24
                     Third-Party Claimant,
    25                v.
    26   ABRAHAM AMOUYAL, an
         individual; and 4MODA CORP.,
    27   a California corporation.                Honorable Stephen V. Wilson
    28             Third-Party Defendants.

         STIPULTED FINAL JUDGMENT                            2:16-cv-00371 SVW (MRWx)
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     1         This Stipulated Final Judgment and Permanent Injunction is entered into
    2    by and among Zinus, Inc. ("Zinus") and Abraham Amouyal ("Amouyal") and
    3    Cap Export, LLC ("Cap Export").
    4          IT IS HEREBY AGREED, ORDERED, ADJUDGED AND DECREED
    5    THAT:
     6         1. Zinus is the owner of U.S. Patent No. 8,931,123.
     7         2. Each of claims 1-3 ofU.S. Patent No. 8,931,123 is not invalid.
     8         3. U.S. Patent No. 8,931,123 is enforceable as against Amouyal and as
     9   against Cap Export.
    10         4. Judgment is hereby entered in favor of Zinus and against Cap Export on
    11   Zinus' claim for patent infringement. This claim for patent infringement is
    12   Zinus' "First Counterclaim And First Third-Party Claim" as pied in Zinus'
    13   answer [Dkt. 11].
    14         5. Judgment is hereby entered in favor of Zinus and against Amouyal on
    15   Zinus' claim for patent infringement. This claim for patent infringement is
    16   Zinus' "First Third-Party Claim" as pied in Zinus' third-party complaint
    17   [Dkt. 23].
    18         6. Judgment is hereby entered against Cap Export and against Amouyal,
    19   jointly and severally, in the total amount of one million one hundred thousand
   20    U.S. dollars ($1,100,000), with Cap Export and Amouyal being ordered to make
   21    payment to Zinus, Inc. according to the following schedule:
   22
   23        Payplent     Amount       Payment Due Date
   24            1st     $110,000      within five business days from entry of this order
   25            2nd     $110,000      June 3, 2019
   26            3rd     $110,000      July 1, 2019
   27            4th     $110,000      August 1, 2019
   28            5th     $110,000      September 3, 2019

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                6th       $110,000       October 1, 2019
    2           7th       $110,000       November 1, 2019
    3           8th       $110,000       December 2, 2019
    4           9th       $110,000       January 2, 2020
    5            10th     $110,000       February 3, 2020
    6          7. All of Cap Export's claims and defenses are dismissed with prejudice.
     7         8. All of Amouyal's counterclaims and defenses are dismissed with
     8   prejudice.
     9         9. All claims, counterclaims and defenses asserted in this litigation
    10   between Zinus and Cap Export and between Zinus and Amouyal are hereby
    11   resolved by this Stipulated Final Judgment and Permanent Injunction. No other
    12   or further relief, including but not limited to attorneys' fees, filing fees,
    13   deposition costs, copying costs and all other litigation costs, shall be granted to
    14   Zinus or to Amouyal or to Cap Export with respect to each other. Zinus agrees to
    15   be bound by the Doctrine of Patent Exhaustion, i.e., the compensation in
    16   Section 6 constitutes payment of an implied license, in that Zinus     affirmat~vely

    17   waives any and all rights to recover any damages from Home Furniture
    18   International LLC, Homegoods Mania, LLC, Sleep and Dream, LLC, Sofamania,
    19   and any other entity owned or controlled by Abraham Amouyal that would result
   20    from the infringement of U.S. Patent No. 8,931,123 due to the 13,591 units of
   21    beds plus the additional estimated units imported between July 2018 and April
   22    2019 that is compensated in full by the judgment amount in Section 6.
   23           10. Zinus and Amouyal and Cap Export affirmatively waive any and all
   24    rights to appeal this Stipulated Final Judgment and Permanent Injunction.
   25           11. The beds that were the subject of this action (namely the beds of the
   26    following types BDSOl, BDS02, BDS04, BDS05, BDS09, BDS15 and BS16 that
   27    were imported by Cap Export and/or Home Furniture International LLC) fall
    28   within the scope of each of claims 1-3 of U.S. Patent No. 8,931,123.

         STIPULATED FINAL JUDGMENT                                2:16-cv-00371 SVW (MRWx)
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     1         12. PERMANENT INJUNCTION: The following individuals and entities
    2          (a) Abraham Amouyal,
    3          (b) Cap Export, LLC,
    4          (c) Abraham Amouyal's successors, assigns, employees, agents,
     5   independent contractors, servants, affiliates, and any and all persons or entities
     6   acting in concert or participation or in privity with any of them, and
     7         (d) Cap Export, LLC's successors, owners, principals, assigns, directors,
     8   officers, employees, agents, independent contractors, servants, shareholders,
     9   insurers, parents, subsidiaries, affiliates, and any and all persons or entities acting
    I0   in concert or participation or in privity with any of them,
    11         are hereby PERMANENTLY ENJOINED AND RESTRAINED, during
    12   the life ofU.S. Patent No. 8,931,123, from:
    13         (i) making, using, selling, offering for sale, importing into the United States,
    14   marketins, distributing, receiving, forwarding, wholesaling, shipping, drop
    15   shipping, warehousing, displaying (on a website), or in any way commercially
    16   exploiting any bed of any of the following types (BDSOl, BDS02, BDS04,
    17   BDS05, BDS09, BDS15 and BDS16 regardless of whether the bed is marked with
    18   such SKU identifiers) where the bed is contained in a single packing box;
    19         (ii) making, using, selling, offering for sale, importing into the United
    20   States, marketing, distributing, receiving, forwarding, wholesaling, shipping,
   21    drop shipping, warehousing, displaying (on a website), or in any way
   22    commercially exploiting any bed (regardless of the bed not being one of the types
   23    BDSOl, BDS02, BDS04, BDS05, BDS09, BDS15 or BDS16) that falls within
   24    the scope of any claim ofU.S. Patent No. 8,931,123; and
   25          (iii) inducing, assisting, aiding, abetting or attempting to induce, assist, aid
   26 · or abet   any other person or entity (including but not limited to Sofamania, Home
   27    Furniture International LLC, Cap Export LLC, any other on-line retailer, on-line
   28    marketplace, brick-and-mortar retailer, wholesaler, or importer regardless of

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     1   whether that other person or entity is owned or controlled by Arnouyal) in
    2    performing any of the prohibited activities referred to above in (i) and (ii).
    3          13. Arnouyal shall provide a copy of by this Stipulated Final Judgment
    4    and Permanent Injunction to the following: Clement Srnadja, Movan Furniture
    5    Group Limited, Xiarnen Moreshine Import and Export Co., Ltd, Arnouyal's
    6    confidential sourcing company in China, Horne Furniture International, LLC,
    7    Sleep and Dream, LLC, and Hornegoods Mania, LLC.
     8          14. In any press release or public, published announcement of the
    9    resolution of this action made by Zinus, such public announcement shall not state
    10   that Arnouyal paid Zinus as part of the resolution of this action, nor that Arnouyal
    11   is enjoined by the Court as part of the resolution of this action. Rather, the public
    12   announcement may state that "Cap Export, LLC and other parties" were ordered
    13   by this Court to pay Zinus $1,100,000, and that "Cap Export, LLC and other
    14   parties" were permanently enjoined from further infringement of U.S. Patent No.
    15   8,931,123. The preclusion set forth in this paragraph against using Arnouyal's
    16   name in the press release or announcement is the one and only restriction on
    17   Zinus' right to disclose to the public the details of what transpired in the present
    18   action (provided that Zinus adheres to the terms of the stipulated protective order
    19   in force in the action [Dkt. 107]). This Stipulated Final Judgment And
   20    Permanent Injunction shall, for example, at all times be a public document that
   21    Zinus can publish and publicly disseminate as Zinus desires. The restriction on
   22    public announcements set forth in this paragraph does not restrict the release of
   23    any information through one-on-one disclosures.
   24           15. This Stipulated Final Judgment And Permanent Injunction is a final
   25    judgment in this action and is suitable for entry by the Clerk pursuant to Fed. R.
   26    Civ. P. 58 and 79(a).
   27    III
   28    III

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                16. This Court shall retain jurisdiction over the parties and the action for
     2    purposes of enforcing this Stipulated Final Judgment And Permanent Injunction.
     3

     4          IT IS SO AGREED
     5

     6    Dated: May ]./,.,_, 2019
     7                                       Zinus, Irie.
                                             By: Keith Reynolds
     8                                           President of Zinus, Inc.
     9

    10
          Dated: May .11, 2019
    11                                          7
                                             Afiraham Amouyal
    12                                       (in his individual capacity as a party to
    13
                                             this litigation)

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          Dated: May~% 2019
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                IT IS SO ORDERED.
    20
    21
          Dated:      30
                   May_,2019
    22,
                                                     The Honorable Stephen V. Wilson
    23                                                  United States District Judge
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          STIPULATED FINAL JUDGMENT                             2:16-cv-00371 SVW (MR.Wx)
          AND PERMANENT INJUNCTION             -6-
